Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 1 of 14 Page ID #:1766



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    7   JASON FRANK LAW, PLC
    8

    9

   10                             UNITED STATES DISTRICT COURT
   11                            CENTRAL DISTRICT OF CALIFORNIA
   12
        In re                                     Case No. 8:18-CV-01644-VAP-KES
   13
        EAGAN AVENATTI, LLP,                      JOINT STIPULATION AND ORDER RE
   14
        Debtor.                                   APPOINTMENT OF RECEIVER AND
   15                                             RESTRAINING ORDER

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                                                                  STIPULATION AND ORDER RE
                                                   -1-         APPOINTMENT OF RECEIVER AND
                                                                         RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 2 of 14 Page ID #:1767



    1                                               STIPULATION
    2           This Stipulation is entered into by and between Judgment Debtor Eagan Avenatti, LLP
    3   (“EA”) and Michael Avenatti (“Avenatti”), on the one hand, and Judgment Creditor Jason Frank
    4   Law, PLC (“JFL”), on the other hand (collectively, the “Parties”).
    5           WHEREAS, JFL has a judgment against EA in the amount of $10,000,000.00, plus
    6   accruing interest at $564.38 per day (since May 22, 2018) and reasonable attorney fees and costs
    7   incurred by JFL in enforcing the judgment (the “Judgment”);
    8           WHEREAS, on February 7, 2019, this Court ordered EA and Avenatti to appear for a
    9   judgment debtor examination on February 14, 2019 at 9:30 a.m. in Courtroom 6D of this Court
   10   (Doc. 50);
   11           WHEREAS, on February 12, 2019, JFL filed a Motion for Appointment of Receiver and
   12   Restraining Order (“Motion”) (Doc. No. 51);
   13           WHEREAS, EA and Avenatti have stipulated and agreed to the relief requested in the
   14   Motion and have further agreed that the Magistrate Judge Karen E. Scott shall have the jurisdiction
   15   and authority to enter the attached [Proposed] Order Appointing Receiver and Issuing Restraining
   16   Order (the “Order”); and
   17           WHEREAS, upon entry of the Order, JFL has agreed to withdraw the Motion and all
   18   pleadings and exhibits relating thereto and consent to the rescheduling of the judgment debtor exam
   19   to March 8, 2019 at 9:30 a.m. in Courtroom 6D of this Court.
   20           ACCORDINGLY, the Parties stipulate and agree as follows:
   21           1. The Parties, and each of them, stipulate to the terms of the Order;
   22           2. The Parties, and each of them consent to the jurisdiction of the Magistrate Judge Karen
   23                E. Scott to enter the Order and to supervise the Receivership;
   24           3. Upon entry of the Order, the Motion is deemed withdrawn without prejudice; and
   25           4. Upon entry of the Order, the judgment debtor exam of EA and Avenatti is continued to
   26                March 8, 2019 at 9:30 a.m. in Courtroom 6D of this Court, located at 411 W. 4th Street,
   27                Santa Ana, California 92701.
   28
                                                                             STIPULATION AND ORDER RE
                                                          -2-             APPOINTMENT OF RECEIVER AND
                                                                                    RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 3 of 14 Page ID #:1768



    1          IT IS SO STIPULATED
    2
        Dated: February 13, 2019                   FRANK SIMS & STOLPER LLP
    3

    4

    5                                     By:      /s/ Scott H. Sims
                                                   Scott Sims, Esq.
    6                                              Attorneys for Judgment Creditor
                                                   Jason Frank Law, PLC
    7

    8
        Dated: February 13, 2019                   EAGAN AVENATTI, LLP
    9

   10                                     By:
                                                   Managing Partner
   11                                              Judgment Debtor Eagan Avenatti, LLP
   12

   13

   14
        Dated: February 13, 2019                   MICHAEL J AVENATTI
   15

   16                                     By:
                                                   Michael J. Avenatti
   17                                              In his Personal Capacity
   18

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                                                                 STIPULATION AND ORDER RE
                                             -3-              APPOINTMENT OF RECEIVER AND
                                                                        RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 4 of 14 Page ID #:1769



    1         ORDER APPOINTING RECEIVER AND ISSUING RESTRAINING ORDER
    2          Pursuant to the Joint Stipulation between Judgment Debtor Eagan Avenatti, LLP (“EA”)
    3   and Michael Avenatti (“Avenatti”), on the one hand, and Judgment Creditor Jason Frank Law,

    4   PLC (“JFL”), on the other hand (collectively, the “Parties”) and for good cause shown:

    5          IT IS HEREBY ORDERED:

    6          1. The Motion. JFL’s Motion for Appointment of Receiver and Restraining Order (Doc.
                   51) and all pleadings and exhibits related thereto are deemed withdrawn without
    7
                   prejudice.
    8
               2. Judgment Debtor Exam. The judgment debtor exam of EA and Avenatti currently
    9
                   scheduled for February 14, 2019 is hereby continued to March 8, 2019 at 9:30 a.m. in
   10
                   Courtroom 6D of this Court, located at 411 W. 4th Street, Santa Ana, California
   11
                   92701.
   12
               3. The Amount of Indebtedness. The principal amount of EA’s indebtedness to JFL
   13
                   under the Judgment is $10 million, plus accruing interest at $564.38 per day since
   14
                   May 22, 2018, reasonable attorney fees and costs incurred by JFL in enforcing the
   15
                   judgment, as well as all costs associated with the receivership (the “Total Indebtedness
   16              to JFL”).
   17          4. Appointment of Receiver. It is hereby ordered that Brian Weiss is appointed as
   18              Receiver of EA pending further Order of this Court.
   19          5. Receiver’s Oath and Bond. The Receiver shall immediately, and before performing
   20              any duties (a) execute and file a Receiver’s oath; and (b) the Receiver shall not be
   21              required to file the bond required by Code of Civil Procedure section 567(b) pursuant

   22              to consent and agreement of EA and Avenatti.

   23          6. Receiver’s Fees. The Receiver may charge for the Receiver’s services no more than

   24              $495.00 per hour.

   25          7. Management Company. The Receiver may employ Force Ten Partners, LLC
                   (“Force 10”), where the Receiver is employed, to assist with the Receiver’s duties at
   26
                   the Receiver’s direction, including but not limited to accounting, reporting, asset
   27

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                                                                            STIPULATION AND ORDER RE
                                                        -4-              APPOINTMENT OF RECEIVER AND
                                                                                   RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 5 of 14 Page ID #:1770



    1           investigation and other tasks. The members of Force 10, other than the Receiver, shall
    2           be compensated at hourly rates ranging from $225 to $495 per hour.
    3        8. Disclosure. The Receiver shall immediately disclose to all parties any financial

    4           relationship between the Receiver and any company hired to assist in the management

    5           of the Receivership property.

    6        9. General Duties. After qualifying, the Receiver shall have the power to take
                possession of and manage the business of EA and its tangible and intangible property
    7
                with all the usual powers, rights and duties of receivers appointed by this Court or
    8
                otherwise defined by statute, including but not limited to the power to operate and
    9
                conduct EA in the ordinary course of its business and collect fees, costs and income
   10
                owed to EA, except that the Receiver will not be authorized to provide legal services
   11
                on behalf of EA’s clients.
   12
             10. Inventory. Within 45 days after qualifying, the receiver shall file an inventory of all
   13
                property possessed under this Order. The Receiver shall file a supplemental inventory
   14
                of all subsequently obtained property
   15
             11. Expenditures. The Receiver shall expend money coming into his possession to
   16           operate and preserve EA’s business and only for the purposes authorized in this Order.
   17           Unless the Court orders otherwise, the Receiver shall to the extent practical hold the
   18           balance in interest-bearing accounts in accordance with California Code of Civil
   19           Procedure section 569.
   20        12. Monthly Accounting of Receiver’s Income, Expenses and Fees.
   21               a. The Receiver shall each month prepare and serve on the parties, but not file, an

   22                   accounting of the income and expenses incurred in the administration of EA,

   23                   including the Receiver’s fees and expenses. The monthly reports shall provide

   24                   a narrative of the material events, a financial report and a statement of all fees

   25                   paid or due to the Receiver, Force 10 and any other professionals retained,
                        showing the itemized services, broken down in 1/10th hour increments. The
   26
                        report shall state the hourly fees and any other basis for the fees.
   27

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                                                                          STIPULATION AND ORDER RE
                                                      -5-              APPOINTMENT OF RECEIVER AND
                                                                                 RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 6 of 14 Page ID #:1771



    1              b. The Receiver may pay the Receiver’s and Management Company’s own fees
    2                  and expenses only by the following procedures:
    3                      i. By serving on all parties a notice of intent to pay to which no objection

    4                          is served on the Receiver within 20 days of the date the notice is

    5                          served.

    6                      ii. By serving and filing a request for interim payment, which the Court
                               then approves.
    7
                          iii. By obtaining and filing an agreement among all the parties approving
    8
                               the payment, which the Court then approves.
    9
                          iv. By filing the Receiver’s final accounting and report, which the Court
   10
                               then approves.
   11
                   c. The Receiver shall not reimburse the Receiver for the Receiver’s general office
   12
                       administration expenses or overhead without Court approval. These expenses
   13
                       include, for example, office supplies and employee payroll, benefits and taxes.
   14
             12. Management.
   15
                   a. The Receiver shall operate EA and take possession of all accounts relating to
   16                  EA and its property.
   17              b. The Receiver may hire legal counsel, accounting and tax professionals at
   18                  normal and customary rates to represent the Receiver in his duties, provided
   19                  however, legal counsel retained to pursue fraudulent and avoidable actions
   20                  shall be on a contingency basis.
   21              c. The Receiver may do all the things, and incur the risks and obligations,

   22                  ordinarily done or incurred by owners, managers and operators of businesses

   23                  and property similar to that possessed by the Receiver, except that the Receiver

   24                  shall not make any capital improvements to property without prior Court

   25                  approval and the Receiver shall not provide legal services to EA’s clients.
             13. Bank Accounts.
   26
                a. The Receiver may establish accounts at any financial institution insured by an
   27
                   agency of the United States government that are not parties to this proceeding and
   28
                                                                        STIPULATION AND ORDER RE
                                                     -6-             APPOINTMENT OF RECEIVER AND
                                                                               RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 7 of 14 Page ID #:1772



    1               shall deposit in those accounts any funds received in connection with EA’s
    2               business.
    3           b. The Receiver shall have control of, and be the sole authorized signatory for all

    4               accounts of EA and client trust accounts or IOLTA accounts, including all

    5               accounts at any bank, title company, escrow agent, financial institution or

    6               brokerage firm which has possession, custody or control of any assets or funds of
                    EA, or which maintains accounts of the Receiver, or which maintains accounts
    7
                    where EA’s employees and agents in such capacity have signatory authority,
    8
                    including but not limited to Michael Avenatti and Judy Regnier.
    9
                c. The Receiver is authorized to open and close bank accounts, including client trust
   10
                    accounts or IOLTA accounts. For the avoidance of doubt, no other parties are
   11
                    permitted to open and close bank accounts in the name of EA.
   12
             14. Additional Powers and Duties of the Receiver. The Receiver shall be authorized to
   13
                and shall perform the following duties and functions:
   14
                    a. Take possession of all past and current client engagement contracts, case files,
   15
                       books and records, electronic files, and other documents necessary to manage
   16
                       the Receivership Assets without limitation;
   17
                    b. Provide a copy of the signed receivership order to any party the Receiver
   18
                       deems necessary in order to direct payment to the Receiver, manage the
   19
                       Receivership Assets, and to perform investigations;
   20
                    c. Be the sole signatory to any contract of EA during the receivership;
   21
                    d. The ability to investigate fraudulent transfers and avoidance actions and to
   22
                       pursue litigation;
   23
                    e. The power to sell assets upon Court approval;
   24
                    f. Make payments toward the Judgment upon Court approval;
   25
                    g. Make all inquiries EA might have made;
   26
                    h. Bring and defend actions in his own name, as Receiver;
   27

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                                                                        STIPULATION AND ORDER RE
                                                     -7-             APPOINTMENT OF RECEIVER AND
                                                                               RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 8 of 14 Page ID #:1773



    1              i. Endorse and deposit any checks, money, negotiable instruments or commercial
    2                  paper through which EA is compensated in any manner whatsoever into the
    3                  Receivership account;
    4              j. Pay all necessary costs and expenses to operate EA in order to maximize its
    5                  assets;
    6              k. Manage the business affairs of EA, including monitoring and approving
    7                  necessary expenses needed to operate the business and accepting new business
    8                  contracts;
    9              l. Have access to and become the “administrative user” for all of EA’s software
   10                  programs, servers and website;
   11              m. Maintain detailed accounting records of all deposits to and all expenditures
   12                  from the Receiver’s bank account until the termination of the Receivership;
   13              n. Disburse funds to JFL and/or EA, or any creditor of EA as ordered by this
   14                  Court;
   15              o. Conduct investigation and discovery, as may be necessary to locate and
   16                  account for all of the assets of or managed by EA, including receiving,
   17                  collecting and reviewing all mail addressed to EA, wherever directed;
   18              p. Take such action as is necessary and appropriate to preserve and take control
   19                  of and to prevent the waste, dissipation, loss of value, concealment, or
   20                  disposition of any assets of or managed by EA;
   21              q. Enter into settlements on behalf of EA with the approval of the Court; and
   22              r. Hire counsel to represent EA’s interests in any application for fees and costs in
   23                  any case in which EA may be entitled to reimbursement of fees and costs,
   24                  including but not limited to those cases in which EA attorneys or resources
   25                  where provided; and
   26              s. Have the sole authority regarding whether to file a petition for bankruptcy.
   27        15. Insurance.
   28              a. The Receiver shall determine whether there is sufficient insurance coverage.

                                                                        STIPULATION AND ORDER RE
                                                    -8-              APPOINTMENT OF RECEIVER AND
                                                                               RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 9 of 14 Page ID #:1774



    1               b. The Receiver shall notify the insurer that the Receiver is to be named as an
    2                   additional insured on each insurance policy on the property.
    3               c. If the Receiver determines that the property does not have sufficient insurance

    4                   coverage, the Receiver shall immediately notify the parties and shall procure

    5                   sufficient insurance.

    6               d. If the Receiver does not have sufficient funds to obtain insurance, the Receiver
                        shall seek instructions from the Court on whether to obtain insurance and how
    7
                        it is to be paid for.
    8
                    e. The Receiver shall not be liable for EA’s failure to carry or obtain adequate
    9
                        insurance.
   10
             16. Taxpayer ID Numbers. The Receiver may use any federal taxpayer identification
   11
                numbers relating to EA and its property for any lawful purpose.
   12
             17. Court instructions. The Receiver and the parties may at any time apply to this Court
   13
                for further instructions and order and for additional powers necessary to enable the
   14
                Receiver to perform his duties properly. Nothing in this order shall be deemed a
   15
                waiver of or preclude any party from requesting on notice to all other parties,
   16           modification of the order and all other parties shall be entitled to oppose such request.
   17        18. EA Responsible for Fees and Expenses of the Receivership. EA shall be
   18           responsible for all fees and expenses associated with the receivership and such costs
   19           will be added to the Judgment pursuant to California Code of Civil Procedure section
   20           685.070(a)(5).
   21        19. Termination of the Receivership. The receivership shall not terminate until the

   22           Total Indebtedness to JFL is fully satisfied and/or the Court has determined the

   23           receivership shall end.

   24        20. Notification of Termination. JFL shall notify the Receiver in writing within 48

   25           hours of any event within JFL’s knowledge that terminates the receivership.
             21. Receiver’s Final Report and Account and Discharge.
   26

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                                                                         STIPULATION AND ORDER RE
                                                     -9-              APPOINTMENT OF RECEIVER AND
                                                                                RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 10 of 14 Page ID #:1775



    1                a. Motion required. Discharge of the Receiver shall require a Court order upon
    2                    noticed motion for approval of the Receiver’s final report and account and
    3                    exoneration of the Receiver’s bond, if any.

    4                b. Time. Not later than 60 days after the receivership terminates, the Receiver

    5                    shall file, serve and obtain a hearing date on a motion for discharge and

    6                    approval of the final report and account.
                     c. Notice. The Receiver shall give notice to all persons of whom the Receiver is
    7
                         aware who have potential claims against EA.
    8
                     d. Contents of Motion. The motion to approve the final report and account and
    9
                         for discharge of the Receiver shall contain the following.
   10
                         i. Declaration(s). Declaration(s) (1) stating what was done during the
   11
                            receivership, (2) certifying the accuracy of the final accounting, (3) stating
   12
                            the basis for the termination of the receivership, and (4) stating the basis
   13
                            for an order for the distribution of any surplus or payment of any deficit.
   14
                        ii. Accounting summary. A summary of the receivership accounting, which
   15
                            shall include (1) the total revenues received, (2) the total expenditures
   16                       identified and enumerated by major categories, (3) the net amount of any
   17                       surplus or deficit and (4) evidence of necessary supporting facts.
   18         22. Notice to Receiver. JFL shall promptly notify the Receiver in writing of the names,
   19            addresses, and telephone numbers of all parties who appear in the action and their
   20            counsel. The parties shall give notice to the Receiver of all events that affect the
   21            receivership.

   22         23. Consent to Convert Receiver to Bankruptcy Trustee. In the event of a bankruptcy,

   23            EA, Avenatti and JFL agree and stipulate that Receiver shall serve as the Chapter 11

   24            Trustee pending confirmation by the Bankruptcy Court, or as the Chapter 7 Trustee if

   25            permitted by the Bankruptcy Court.
              24. Bankruptcy Receiver’s Duties. If the Receiver receives notice that an involuntary
   26
                 bankruptcy has been filed and part of the bankruptcy estate includes property that is
   27
                 the subject of this Order, the Receiver shall have the following duties:
   28
                                                                          STIPULATION AND ORDER RE
                                                      -10-             APPOINTMENT OF RECEIVER AND
                                                                                 RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 11 of 14 Page ID #:1776



    1               a. Turn over property if no relief from stay will be sought. The Receiver shall
    2                  immediately contact the parties who stipulated to the appointment of the
    3                  Receiver and determine whether either party intends to move in the bankruptcy

    4                  court for an order for (i) relief from the automatic stay, and (ii) relief from the

    5                  Receiver’s obligations to turn over the property (11 U.S.C. § 543). If neither

    6                  party intends to make such a motion, the Receiver shall immediately turn over
                       the property to the appropriate entity either to the trustee in bankruptcy if one
    7
                       has been appointed that is not the Receiver and otherwise comply with 11
    8
                       United States Code section 543.
    9
                    b. Remain in possession pending resolution. If either of the parties who
   10
                       stipulated to the receivership intend to seek relief immediately from both the
   11
                       automatic stay and the Receiver’s obligation to turn over the property, the
   12
                       Receiver may remain in possession and preserve the property pending the
   13
                       ruling on those motions (11 U.S.C. § 543(a)). The Receiver’s authority to
   14
                       preserve the property shall be limited as follows:
   15
                          i. The Receiver may continue to collect rents and other income;
   16                    ii. The Receiver my make only those disbursements necessary to preserve
   17                        and protect the property; and
   18                   iii. The Receiver shall not execute any new leases or other long-term
   19                        contracts without Court approval.
   20               c. Turn over property if no motion for relief is filed within 10 days after notice of
   21                  the bankruptcy. If the parties who stipulate to the receivership fail to file a

   22                  motion within 10 court days after their receipt of notice of the involuntary

   23                  bankruptcy filing, the Receiver shall immediately turn over the property to the

   24                  appropriate entity either to the trustee in bankruptcy if one has been appointed

   25                  or, if not, to the debtor in possession and otherwise comply with 11 United
                       States Code section 543.
   26

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                                                                          STIPULATION AND ORDER RE
                                                     -11-              APPOINTMENT OF RECEIVER AND
                                                                                 RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 12 of 14 Page ID #:1777



    1                d. Retain bankruptcy counsel. The Receiver may petition the Court to retain legal
    2                    counsel to assist the Receiver with issues arising out of the bankruptcy
    3                    proceedings that affect the receivership.

    4         25. Failure to Turn Over Property. A receiver who fails to turn over property in

    5            accordance with this Order shall not be paid for time and expenses after the date the

    6            Receiver should have turned the property over.
              26. Liability of the Receiver. Except for an act of gross negligence or intentional
    7
                 misconduct, the Receiver shall not be liable for any loss or damages incurred by EA,
    8
                 its officers, shareholders, agents, servants, partners, employees, contractors, creditors,
    9
                 counsel or any other persons or entities by reason of any act performed or omitted to
   10
                 be performed by the Receiver in connection with the discharge of his duties.
   11
                                 RESTRAINING ORDER / INJUNCTION
   12
              27. The Court orders EA and Avenatti to do the following:
   13
                     a. Turn Over Property. Immediately turn over possession of all property of EA
   14
                         to the Receiver when the appointment becomes effective, including but not
   15
                         limited to all past and current client engagement contracts, case files, books
   16                    and records, electronic files, and other documents necessary to manage the
   17                    Receivership Assets and all funds in EA accounts, including client trust
   18                    accounts.
   19                b. Access to EA’s offices and computer systems. Immediately turn over to the
   20                    Receiver all keys and passwords relating to the property and grant the Receiver
   21                    unfettered access to EA and all premises related thereto, and all EA computer

   22                    systems.

   23                c. Insurance.

   24                      i. Immediately advise the Receiver about the nature and extent of EA’s

   25                         insurance;
                           ii. Immediately name the receiver as an additional insured on each insurance
   26
                              policy; and
   27
                          iii. DO NOT cancel, reduce or modify the insurance coverage.
   28
                                                                           STIPULATION AND ORDER RE
                                                      -12-              APPOINTMENT OF RECEIVER AND
                                                                                  RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 13 of 14 Page ID #:1778



    1                d. Notify Receiver of Clients and Cases. Within 7 days after the appointment of
    2                     the Receiver, EA and Avenatti, and office manager Judy Regnier must meet
    3                     with the Receiver and JFL and disclose all current clients and cases being

    4                     managed by EA and all cases in which the services of an EA attorney or EA

    5                     resources were provided, whether the case was filed in the name of EA or

    6                     another law firm.
                     e. Respond to Inquiries. Immediately respond to all inquiries of the Receiver
    7
                          pertaining to EA.
    8
                     f. Disclosure of Bank Accounts. Immediately disclose to the Receiver all
    9
                          accounts of EA and client trust accounts, including all accounts at any bank,
   10
                          title company, escrow agent, financial institution or brokerage firm which has
   11
                          possession, custody or control of any assets or funds of EA, or which
   12
                          maintains accounts of the Receiver, or which maintains accounts where EA’s
   13
                          employees and agents in such capacity have signatory authority, including but
   14
                          not limited to Michael Avenatti and Judy Regnier.
   15
                     g. Payment. Pay all amounts due to the Receiver.
   16                h. Cooperation. Avenatti shall fully cooperate with the Receiver for the duration
   17                     of the receivership, regardless of whether he is employed by or affiliated with
   18                     EA, including but not limited to directing Judy Regnier and any other former
   19                     employees of EA to likewise cooperate with the Receiver.
   20         28. Enjoinment. EA, and its owners, partners, employees, agents, managers, attorneys
   21            and all persons and entities acting in concert with EA are hereby enjoined and cannot:

   22                a.      Expend, disburse, remove, transfer, assign, sell, convey, devise, pledge,

   23                        mortgage, create a security interest in, encumber, conceal or in any manner

   24                        whatsoever deal in or dispose of the whole or any portion of EA’s assets,

   25                        including but not limited to its rights to attorney fees and costs from any

   26                        client or in connection with any cases in which EA attorneys or resources

   27                        were used;

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                                                                          STIPULATION AND ORDER RE
                                                      -13-             APPOINTMENT OF RECEIVER AND
                                                                                 RESTRAINING ORDER
Case 8:18-cv-01644-VAP-KES Document 53 Filed 02/13/19 Page 14 of 14 Page ID #:1779



    1                b.      Interfere in any way, directly or indirectly, with the Receiver’s
    2                        performance of his/her duties and responsibilities and the exercise of
    3                        his/her powers and/or doing any act which may impair, defeat, divert,
    4                        prevent or prejudice the preservation of EA’s assets or the proceeds
    5                        thereof;
    6                c.      Commit or permit any waste of EA’s assets or any portion thereof, or
    7                        suffer or commit or permit any act on EA’s assets or any part thereof in
    8                        violation of law;
    9                d.      Conceal or withhold from the Receiver any EA assets, including any client
   10                        trust funds, real property, physical property, indirect or beneficial
   11                        ownership interests, or funds;
   12                e.      Do any act which will, or which will tend to, impair, defeat, divert, prevent
   13                        or prejudice the preservation of EA’s assets;
   14                f.      Demand, collect, compromise, trade, receive or spend any portion or
   15                        proceeds of EA’s assets; and
   16                g.      Fail to pay over to the Receiver any monies whenever received, presently
   17                        in the possession, custody or control of EA, its owners, agents,
   18                        representatives, servants, assigns and all those acting in concert therewith.
   19         29. Nothing in this order excuses or alters any ethical duties that EA and/or EA’s
   20            attorneys may have to their clients.
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   23          2/13/2019
        Dated: _________
                                                    U.S District Court Magistrate Judge
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                                                                           STIPULATION AND ORDER RE
                                                        -14-            APPOINTMENT OF RECEIVER AND
                                                                                  RESTRAINING ORDER
